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     OMAR KHAWAJA                                          September 11, 2024
     TEXAS REIT LLC                                                         1

 l                IN THE UNITED STATES BANKRUPTCY COURT

 2                    FOR THE WESTERN DISTRICT OF TEXAS

 3                              AUSTIN DIVISION

 4

 5    In re:                                     Chapter l l

 6    TEXAS REIT,     LLC                        Case No.

 7    Debtor                                     24-10120-smr

 8

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lO

ll                          REMOTE DEPOSITION OF

l2                               OMAR KHAWAJA

l3

l4

l5

l6                           September ll, 2024
                                 l0:l5 a.m.
l7

l8

l9                      5051 Westheimer, Suite 1200
                              Houston, Texas
20

2l

22

23

24
                 Cheryl Madriaga,       Shorthand Reporter
25


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     OMAR KHAWAJA                                           September 11, 2024
     TEXAS REIT LLC                                                          2

 1                       APPEARANCES OF COUNSEL:

 2
      On behalf of Debtor, Texas Reit, LLC:
 3
         STEPHEN W. SATHER, ESQ.
 4       BARRON & NEWBURGER, P.C.
         7320 N. Mopac Expy, Suite 400
 5       Austin, TX 78731
         (512) 476-9103
 6       ssather@bn-lawyers.com

 7
      On behalf of Deponent, Omar Khawaja:
 8
         MICHAEL BALLASES, ESQ.
 9       HOOVER SLOVACEK, LLP
         5051 Westheimer, Suite 1200
10       Houston, Texas 77056
         (713) 977-8686
11       ballases@hooverslovacek.com

12
      On behalf of Dalio Holdings I and II,          LLC:
13
         LORI A. HOOD, ESQ.
14       SHACKELFORD, MCKINLEY & NORTON, LLP
         717 Texas Avenue, 27th Floor
15       Houston, TX 77002
         (832) 669-6081
16       lhood@shackelford.law

17
      Also Present:
18
         Dwayne Mason, Esq., Greenberg Traurig, LLP -
19       prospective counsel for Dalio Holdings I and II, LLC

20       Ali Chouhdri, prose - in his individual capacity

21       Gene Mccubbin - assistant to Lori Hood

22       Tammy Luu - assistant to Ali Choudhri

23       Osama Abdullatif - noticed deponent

24       John Quinlan - noticed deponent

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 1                        P R O C E E D I N G S
 2               THE REPORTER:     We are on the record.         The date
 3    is September 11th, 2024.          This begins the deposition
 4    of Omar Khawaja.
 5              My name is Cheryl Madriaga, representing
 6    Esquire Deposition Solutions.
 7              Will counsel please state their name on the
 8    record and whom they represent?
 9              MR. SATHER:      Stephen Sather
10              MR. BALLASES:      Michael Ballases
11              MR. SATHER:      -- attorney for --

12              MR. BALLASES:      --    (unintelligible) Khawaja --
13              THE REPORTER:      Sorry --
14              MR. BALLASES:      -- John Quinlan, and Osama
15    Abdullatif.
16              THE REPORTER:      Okay.     Sorry.   I just had two
17    people speaking at once.          Could I start with one
18    counsel, please?
19              MR. BALLASES:      Sure.    Michael Ballases,
20    counsel of record for the deponent, Omar Khawaja, also
21    John Quinlan, also Osama Abdullatif .
22              THE REPORTER:      Thank you.
23              MR. SATHER:      Stephen Sather
24              MR. BALLASES:      You're welcome.
25              MR. SATHER:      - - for Texas REIT, LLC, the


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 1    debtor in this case.
 2                MS. HOOD:     Lori Hood of Dalio Holdings, a
 3    creditor in the case.
 4                MR. CHOUDHRI:     Ali Choudhri, a creditor in the
 5    case.
 6                THE REPORTER:     Okay.    Is there anything else,
 7    or are we ready to have me swear in the witness?
 8                MR. BALLASES:     Now, there are other people on

 9    the call.     They need to make an appearance.
10                MR. MASON:    This is Dwayne Mason, prospective
11    counsel for Dalio with Greenberg Traurig.
12                MR. MCCUBBIN:     Gene Mccubbin, assistant to
13    Lori Hood.
14                MR. BALLASES:     Okay.    I'm going to object --
15    this is Michael Ballases.        I'm going to object to Lori
16    Hood, her assistant, Ali Choudhri, and Dwayne Mason
17    being present on the call.        They're not -- they don't
18    represent Texas REIT.        They're not parties, they don't
19    have standing, and they cannot participate.            And this
20    is not a creditors' meeting.          So I want that to be on
21    the record.
22                MR. SATHER:     All right.   Your objection is
23    noted.   Let's proceed.
24                THE REPORTER:     Okay.   And just before we go on
25    the record, I just ask that we please do our best not


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 1    to speak over one another .
 2              Mr. Khawaja, please keep your voice nice and
 3    loud, allow counsel to finish his completely before
 4    you begin your answer, and all answers must be verbal.
 5    Thank you.
 6              MR. CHOUDHRI:      Just confirming, Madam Court
 7    Reporter, we are on the record; right?
 8              THE REPORTER:      Yes, we are.
 9              MR. SATHER:     All right.
10              MR. CHOUDHRI:      Okay.
11              MR. SATHER:      If you would swear in the
12    witness, please.
13                             OMAR KHAWAJA,
14    having been first duly sworn, was examined and
15    testified as follows:
16                             EXAMINATION
17              MR. BALLASES:      Real quick before we get
18    started -- this is Michael Ballases -- I assume we
19    have an agreement to take this deposition by the
20    Federal Rules of Civil Procedure and also the Court's
21    limiting instruction.
22              MR. SATHER:     Yes.
23              MR. BALLASES:      Okay.
24    BY MR. SATHER:
25         Q.   All right.     Mr. Khawaja, have you ever given a


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     TEXAS REIT LLC                                                         7

 1    deposition before?
 2          A.   I don't think so, no.
 3          Q.   All right.     But are you familiar with the
 4    process for taking a deposition, sir?
 5          A.   Yes.    Yes, I am.
 6          Q.   And do you understand that your testimony
 7    today is under oath?
 8         A.    Yes, I do.
 9          Q.   And is there anyone present in the room with
10    you where you are giving your testimony?
11         A.    Yes, my attorney, Michael Ballases, and the
12    other two parties, Osama Abdullatif and John Quinlan.
13          Q.   All right.     And, Mr. Khawaja, do you
14    understand that you cannot confer with any of the
15    parties in the room with respect to your answers?
16         A.    Yes, I do.
17         Q.    Tell me what you do for a living.
18         A.    I'm an attorney.
19         Q.    And are you familiar with a company called
20    Texas REIT, LLC?
21         A.    Yes, I am.
22         Q.    And how are you familiar with Texas REIT, LLC?
23         A.    So an entity that Ali Choudhri owns.
24         Q.    Okay.
25         A.    Or controls.


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 1    hang on.     Let me find it.
 2               Is that the lawsuit involving HREP?
 3          A.   Yes.
 4          Q.   Okay.   And were you involved in that lawsuit?
 5          A.   I was not.
 6          Q.   So everything you know about that lawsuit, you
 7    read as a matter of public record.
 8          A.   That's correct.
 9          Q.   Was there a finding of fraudulent transfers in
10    that case?
11               MR. BALLASES:     Objection.     Form.
12         A.    Other fraud, but I don't know if fraudulent
13    transfer was part of that.
14         Q.    (BY MS. HOOD)     I didn't see it.
15               MR. BALLASES:     Objection.     Sidebar.
16         Q.    (BY MS. HOOD)     All right.     That's the first
17    lawsuit that you said you looked at for public record
18    in order to determine that my client is somehow the
19    alter ego of all these other things; correct?
20         A.    That's correct.
21         Q.    Okay.   What other -- what other public records
22    did you review?
23         A.    There's also these videos by a guy named Wayne
24    Dolcefino I saw.
25         Q.    So you looked at videos.

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     TEXAS REIT LLC                                                        110

 1          A.   Yes .
 2          Q.   Anything else you reviewed?
 3         A.    I think just generally people in the community
 4    know that your client commits fraud.          He's known as a
 5    fraudster .
 6          Q.   Who are these --
 7         A.    So many people have approached me.
 8          Q.   Okay.    Who are these people?
 9         A.    Yeah, I can't -- many people that he's
10    defrauded over the years.
11         Q.    Name one.
12         A.    Well, Judge Norman is one.        I don't know if
13    you know him.      He's in the Southern District.
14         Q.    Okay.   Who else?
15         A.    Let's see.    Who else in the community have
16    called him a fraudster?
17               Judge Landrum, Judge Michael Landrum in the
18    Harris County District Court, 164th District Court .
19    He considers your client a fraud.
20         Q.    And is that in relation to the HREP case?
21         A.    I just think generally .
22         Q.    Okay.    So Judge Landrum has spoken to you
23    about Mr. Choudhri being a fraudster?
24         A.    It's in a final judgment .       I can read that for
25    you if you'd l i ke.

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     TEXAS REIT LLC                                                          111

 1           Q.   No, I'm asking --
 2          A.    Do you want me to read it to you?
 3          Q.    No, no, no .      I'm asking you.    You said people
 4    have told you; many people have told you.                So I'm
 5    asking who --
 6          A.    Yes.
 7          Q.    -- who's had a conversation with you about
 8    Mr. Choudhri being a fraudster?           And you've said Judge
 9    Norman, and I'm assuming you didn't --
10          A.    Yes.
11          Q.    -- talk personally with Judge Norman .              That's
12    out of an opinion; right?
13          A.    Yes.
14          Q.    Okay.   The same as --
15          A.    Members of the community --
16          Q.    Okay.   So who --
17          A.    I ' m sorry - -
18                THE REPORTER:      Sorry.   One at a time, please.
19    Thank you.
20          Q.    (BY MS. HOOD)      What community?
21                MR. BALLASES:      Objection.     Form.
22          A.    The real estate community, the Pakistani
23    community, basically anyone Mr. Choudhri has come 1n
24    contact with and done business with, people from those
25    communities.


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     TEXAS REIT LLC                                                         228

 1                Let's take a two-minute break, and then
 2    Osama's going to be in this chair.
 3                THE REPORTER:       Okay.    So I am going off the
 4    record.
 5                 (End of proceedings at 3:31 p.rn.)
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